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EXHIBIT E
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Moustakis, Philip

From: Jason Seibert <jason@seibert-law.com>
Sent: Friday, May 23, 2014 6:42 PM

To: Moustakis, Philip

Ce: Szczepanik, Valerie

Subject: October 3, 2012 interview with Shavers
Dear Philip,

In our initial conferral, | asked you if you had ever spoken with my client outside of deposition. You said, “yes.” | asked
you if you had a recording of that. You said, “no.”

I’ve been reviewing the deposition (Doc 32-1) and you are consistently referencing and apparently reading alleged
statements my client made during an interview conducted October 3™ 2012, of my client.

Questions:

1. Atthe time of the October 3, 2012 interview, did the SEC have a formal or informal investigation opened for
Mr. Shavers?

2. What was the date of the first subpoena the Commission issued to my client, and under what authority did the
Commission represent it had a right to Subpoena any Defendant in this case?

3. Who was in attendance at the phone conference of October 3, 2012? Also, was a court reporter/transcriptionist
present?

4. Was my client advised of his right to an attorney prior to speaking with you or any member of the Commission?

5. Was my client advised that the Commission may use the information as part of a criminal investigation?

6. Was my client advised of his Miranda rights prior to speaking with you at any point in time, or with any member
of the Commission?

7. Did you advise my client prior to his deposition that his testimony could be used as part of a criminal
investigation and advise my client of his Miranda rights? | do not see that anywhere in the record provided in
Doc 32-1.

| look forward to your immediate response, specifically, to each question above.
Regards,
F. Jason Seibert

FJ Seibert, LLC — A Law Office
jason@seibert-law.com

DO NOT read, copy or disseminate this communication unless you are the intended addressee. This email
communication contains confidential and/or privileged information intended only for the addressee. If you have
received this communication in error, please contact me immediately.
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UNITED STATES

SECURITIES AND EXCHANGE COMMISSION
New York Regional Office
Brookfield Place, 200 Vesey Street, Suite 400
New York, NY 10281-1022

DIVISION OF PHILIP R. MOUSTAKIS
ENFORCEMENT SENIOR ATTORNEY
(212) 336-0542
moustakisp@sec. gov

May 27, 2014

By UPS Overnight Delivery and Electronic Mail:

F. Jason Seibert, Esq.

960 Liberty Street SE, Ste. 150
Salem, OR 97302
jason@seibert-law.com

Re: SEC y. Shavers, et al., 4:13-CV-416 (RC) (ALM)

Dear Jason:

I represent the Securities and Exchange Commission in the above-referenced action. |
write to address certain concerns raised by you in recent emails to Commission staff.

‘Mr. Shavers is a party to this litigation; it was incumbent upon him to order and review
the transcript of his deposition himself. We uploaded the Commission’s Motion for Summary
Judgment or, in the Alternative, for Default Judgment, and all exhibits thereto, to the Court’s
ECF system in searchable .pdf format. You may be using outdated software. In any event, for
your convenience, shortly after this letter, I will forward to you by email the motion and related
exhibits in searchable .pdf format.

If you would like to request _a copy of the formal order of investigation in this matter, the
request_must_be made_i iti é Valerie A. Szczepanik, Assistant Regional
Director, Division of Enforcement, U.S. Securities & Exchange Commission, Brookfield Place,
200 Vesey Street, Ste. 400, New York, NY 10281-1022. Furthermore, the request must include
the following representations:

The undersigned represents [client's name] in the above captioned
matter. Pursuant to 17 CFR. §203.7 [I/we] hereby request on behalf
of [my/our] client[s] to be furnished with a copy of the Commission's
Formal Order of Investigation in the above matter. [I/We] warrant
that the Formal Order and information contained therein will remain
confidential and will not be disseminated to any person or party
except [my/our] client[{s] for use in connection with [my/our]
representation of [him/her/it/them] in this matter.
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Please find attached for your convenience, a copy of the subpoena and related
correspondence, including SEC Form 1662, sent to Mr. Shavers on September 21, 2012. Form 1662
sets forth information for persons requested to supply information voluntarily or directed to supply
information pursuant to a Commission subpoena, including routine uses of information. Please
know the Commission is a civil regulatory agency; it does not have criminal jurisdiction.

If you have any additional questions or concerns, please do not hesitate to let me know.

Yours truly,
Philip

Enclosures: Sept. 21, 2012 subpoena to Shavers and related correspondence; Plaintiff's Motion
for Summary Judgment or, in the Alternative, for Default Judgment, and exhibits thereto (by
email only).
